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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARIA R. MARTINEZ,

                      Plaintiff,
                                                        No. 1:18-CV-04334
         v.
                                                        Hon. Charles R. Norgle, Sr.
CALIBER HOME LOANS, INC.,
A Delaware corporation, et al.

                      Defendants.


                         AGREED MOTION TO EXTEND TIME
                        TO ANSWER OR OTHERWISE RESPOND

         Caliber Home Loans, Inc. (“Caliber”) and U.S. Bank Trust, N.A. as Trustee for LSF9

Master Participation Trust (“U.S. Bank Trust,” together, the “Defendants”), by their undersigned

counsel and pursuant to Federal Rule of Civil Procedure 6(b), hereby move this Court for an

extension of time to answer or otherwise plead in response to Plaintiff Maria R. Martinez

(“Plaintiff”)’s Complaint. In support of their Motion, the Defendants state as follows:

         1.    Plaintiff served Caliber with a copy of the Summons and Complaint on July 5,

2018. Accordingly, Caliber has until July 26, 2018 to answer or otherwise plead in response to

the Complaint. See Dkt. #8.

         2.    Plaintiff served U.S. Bank Trust with a copy of the Summons and Complaint on

July 2, 2018. Accordingly, U.S. Bank Trust has until July 23, 2018 to answer or otherwise plead

in response to the Complaint. See Dkt. #7.

         3.    The Defendants recently engaged Perkins Coie as counsel in connection with this

action and require additional time beyond the above-stated deadlines to answer or otherwise

plead in response to the Complaint.




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         4.    The Defendants and the Plaintiff have agreed to extend the Defendants’ deadlines

to answer the Complaint to August 23, 2018.

         5.    This Motion is brought in good faith and not for purposes of delay.           The

Defendants have not previously requested an extension of time.

         WHEREFORE, the Defendants respectfully request that this Court enter an order

extending the Defendants’ deadline to answer or otherwise plead in response to the Complaint to

August 23, 2018 and granting such other and further relief as this Court deems just and

reasonable.



Dated: July 18, 2018                          Respectfully submitted,

                                              U.S. Bank Trust and Caliber Home Loans, Inc.


                                         By: /s/ Yasamin N. Oloomi
                                           Yasamin N. Oloomi
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                                  CERTIFICATE OF SERVICE

         I, Yasamin N. Oloomi, certify that on July 18, 2018, I electronically filed the foregoing

AGREED MOTION TO EXTEND TIME TO ANSWER OR OTHERWISE PLEAD with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

all attorneys of record.

         I certify under penalty of perjury that the foregoing is true and correct.


                                                /s/ Yasamin N. Oloomi
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